        Case 19-34054-sgj11        Doc 3579 Filed 10/18/22 Entered 10/18/22 12:26:17                         Desc
                                  Appeal Transmittal-Complete Page 1 of 1
BTXN 099 (rev. 12/14)
                                     UNITED STATES BANKRUPTCY COURT
                                       NORTHERN DISTRICT OF TEXAS


In Re:                                                      §
Highland Capital Management, L.P.                           §    Case No.: 19−34054−sgj11
                                                            §    Chapter No.: 11
                                         Debtor(s)          §    Civil Case No.:   3:22−CV−02051−B
                                                            §
CLO HoldCo, Ltd.                                            §
                                        Appellant(s)        §
      vs.                                                   §
Marc Kirschner, the Litigation Trustee for the Highland     §
Litigation SubTrust                                         §
                                        Appellee(s)         §
                                                            §
                                                            §
                                                            §


                 TRANSMITTAL AND CERTIFICATION OF RECORD ON APPEAL
     Pursuant to Federal Rules of Bankruptcy Procedure 8010, the appeal filed on 8/31/2022 regarding [3457] Order
denying motion motion to ratify second amended proof of claim and expunging claim (related document # 3178)
Entered on 8/17/2022 by CLO HoldCo, Ltd. in the above styled bankruptcy case is hereby transmitted to the U.S.
District Court for the Northern District of Texas.

    This record on appeal contains all items listed on the attached index, and is in compliance with Rule 8010 of the
Federal Rules of Bankruptcy Procedure.

     All further pleadings or inquiries regarding this matter should be directed to the U.S. District Clerk's Office until
such time as the appeal is fully processed in the U.S. District Court.

      The above referenced record was delivered to the U.S. District Clerk's Office on October 18, 2022.



DATED: 10/18/22                                  FOR THE COURT:
                                                 Robert P. Colwell, Clerk of Court

                                                 by: /s/J. Blanco, Deputy Clerk
